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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 HUNTINGTON DIVISION


MARY DURSTEIN,

                             Plaintiff,

v.                                                  CIVIL ACTION NO. 3:19-0029

TODD ALEXANDER and
BOARD OF EDUCATION, CABELL COUNTY SCHOOLS,

                             Defendants.


                                            ORDER

        Plaintiff has filed her “Supplement to Oral Argument.” ECF No. 239. Plaintiff has not

sought any leave to file this memorandum. It is post oral argument and extensive briefing by both

sides. Moreover, it is an older case which Plaintiff had reason to be aware of and could have

referenced in her original briefing. For these reasons, the Court ORDERS that it be stricken from

the docket.

        The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.

                                            ENTER:         August 22, 2022




                                          ROBERT C. CHAMBERS
                                          UNITED STATES DISTRICT JUDGE
